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              IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,   ) CRIM. NO. 06-00469 HG-KSC
                            )
    Plaintiff,              ) FINDINGS AND
                            ) RECOMMENDATION TO DENY
    vs.                     ) DEFENDANT SYED QADRI’S
                            ) MOTION TO DISMISS
SYED QADRI(01); PATRICIA    ) INDICTMENT AND SUPERSEDING
ROSZKOWSKI (02); RUBEN      ) INDICTMENT
CARILLO GONZALEZ aka “RUBEN )
CARILLO” (03); JEFFREY      )
GREENHUT (04),              )
                            )
   Defendants.              )
___________________________ )

             FINDINGS AND RECOMMENDATION TO DENY
          DEFENDANT SYED QADRI’S MOTION TO DISMISS
            INDICTMENT AND SUPERSEDING INDICTMENT

            Before the Court, pursuant to a referral from

Senior United States District Judge Helen Gillmor, is

Defendant Syed Qadri’s (“Qadri”) Motion to Dismiss

Indictment and Superseding Indictment (“Motion”), filed

June 18, 2009.           Defendants Patricia Roszkowski, Jeffrey

Greenhut, and Ruben Carillo Gonzalez filed Joinders on

June 18, 23, and 24, 2009, respectively.                     On July 10,

2009, Plaintiff United States of America (“government”)

filed its Opposition.

            This matter came on for hearing on July 14,
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2009.     AUSA Chris Thomas appeared on behalf of the

government; Eric Seitz, Esq. and Della Au Bellati,

Esq., appeared on behalf of Qadri; Miles Breiner, Esq.,

appeared on behalf of Roszkowski; Pamela Tamashiro,

Esq., appeared on behalf of Gonzalez, who was also

present; and Paul Wong, Esq., appeared on behalf of

Greenhut.

            After careful consideration of the Motion, the

supporting and opposing memoranda, and the arguments of

counsel, the Court HEREBY FINDS AND RECOMMENDS that the

district court DENY the Motion for the reasons set

forth below.

                                BACKGROUND

            On August 31, 2006, the government filed the

Indictment, charging Qadri, Roszkowski, Gonzalez, and

Greenhut (collectively “Defendants”) with four counts

of wire fraud in violation of 18 U.S.C. §§ 1343 and 2.

Roszkowski was additionally charged with two counts of

credit card application fraud in violation of 18 U.S.C.

§ 1014.

            On May 19, 2009, the government filed the


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Superseding Indictment, charging Defendants with fifty

counts of wire fraud in violation of 18 U.S.C. §§ 1343

and 2; one count of conspiracy to commit money

laundering in violation of 18 U.S.C. §§ 1956(h) and

1956 (a)(1)(A)(I); and thirty-four counts of money

laundering in violation of 18 U.S.C. § 1957.

Roszkowski was additionally charged with two counts of

credit card application fraud in violation of 18 U.S.C.

§ 1014.      The government also gave notice to Defendants

of a criminal forfeiture action pursuant to 18 U.S.C.

§§ 981, 982, 984, 1343, 1956, 1957 and 28 U.S.C. §

2461(c).

            During the time period between the filing of

the Indictment and the Superseding Indictment, the

government produced thousands of pages of documents and

other evidence related to the case and Defendants made

various discovery requests.                 Defendants also filed

motions to compel discovery and to continue trial.

            Most recently, on June 29, 2009, Magistrate

Judge Barry Kurren heard and denied Qadri’s renewed

motion to compel discovery.


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                                DISCUSSION

            Defendants argue that the Court should dismiss

the Indictment and the Superseding Indictment because

of the delays in production of discovery and the

untimely filing of the Superseding Indictment.

Defendants contend that they cannot adequately prepare

for the November 3, 2009 trial given the delays.

            In response, the government represents that it

has produced a substantial number of documents and

other evidence, including electronic communications,

audio and video recordings, and transcripts thereof,

and copies of the hard drives of 37 computers.                          The

government points out that despite Defendants’ repeated

claim of discovery delays, most of the documents and

evidence produced were originally obtained from

Defendants and have therefore been available to them

since the inception of the case.

            The Court finds that the present circumstances

do not justify a recommendation of dismissal.                          While

disfavored because it is a drastic step, United States

v. Rogers, 751 F.2d 1074, 1076 (9th Cir. 1985), an


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indictment may be dismissed on two grounds: 1)

outrageous government conduct if the conduct amounts to

a due process violation and 2) if the conduct does not

rise to the level of a due process violation, the court

may nonetheless dismiss under its supervisory powers.

United States v. Chapman, 524 F.3d 1073, 1084 (9th Cir.

2008) (citing United States v. Barrera-Moreno, 951 F.2d

1089, 1091 (9th Cir. 1991)).                  To support a dismissal on

the first ground, “the Government’s conduct must be so

grossly shocking and so outrageous as to violate the

universal sense of justice.”                  United States v. Smith,

924 F.2d 889, 897 (9th Cir. 1991) (citing United States

v. Ramirez, 710 F.2d 535, 539 (9th Cir. 1983); United

States v. Citro, 842 F.2d 1149, 1152 (9th Cir. 1988)).

In fact, the “Government’s involvement must be malum in

se or amount to the engineering and direction of the

criminal enterprise from start to finish.”                         Id. (citing

Citro, 842 F.2d at 1153).

            District courts may exercise their supervisory

power “‘to implement a remedy for the violation of a

recognized statutory or constitutional right; to

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preserve judicial integrity by ensuring that a

conviction rests on appropriate considerations; and to

deter future illegal conduct.’”                    Chapman, 524 F.3d at

1085 (quoting United States v. Simpson, 927 F.2d 1088,

1090 (9th Cir. 1991)).            However, dismissals are

permissible “only ‘in cases of flagrant prosecutorial

misconduct.’”        Id.     Flagrant misbehavior does not

include accidental or merely negligent governmental

conduct, but may embrace reckless disregard for

constitutional obligations.                  Id.

            In the present case, dismissal of the

indictment, with or without prejudice, would be

inappropriate.           There is an absence of evidence before

the Court to support a finding that the government has

engaged in outrageous conduct that amounts to a due

process violation.           The government’s alleged failure to

produce documents and other evidence to Defendants and

the delay in filing the Superseding Indictment are not

so grossly shocking and so outrageous as to violate a

universal sense of justice.

            The Court also declines to recommend dismissal

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under its supervisory powers, finding that the

government’s alleged actions do not rise to a level of

flagrant prosecutorial misconduct.                     The recent denial

of Qadri’s renewed motion to compel discovery appears

to indicate that the government has not been unduly

remiss in fulfilling its discovery obligations.

Neither does it appear that the delay in filing the

Superseding Indictment amounts to flagrant

prosecutorial misconduct.               There is no dispute that

this case is complex.           While it would have been

desirable for the government to have filed the

superseding indictment more expeditiously, this delay

cannot serve as the sole basis for dismissing the

indictments.        Even if the Court attributed the

foregoing delays to accidental or merely negligent

conduct, which it is not prepared to do, the Ninth

Circuit has held that flagrant misbehavior does not

include such conduct.           See Chapman, 524 F.3d at 1085.

Accordingly, the Court declines to recommend dismissal

of the Indictment and Superseding Indictment.

            Defendants assert that they cannot adequately

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prepare for the November trial date in light of the

late filing of the Superseding Indictment and the lack

of production of relevant discovery.                         Defendants’

inability to adequately prepare for the November trial

can be addressed with a continuance, if appropriate

and/or necessary.          Where the government has filed a

superseding indictment that prejudices a defendant and

it is necessary to allow further preparation, the

district court may grant a trial continuance to serve

the ends of justice.          United States v. Rojas-Contreras,

474 U.S. 231, 236 (1985).               The Court acknowledges

Defendants’ concerns and frustration with the delays in

this case.       However, the relief they seek - dismissal

without prejudice - is not justified based on the

record before the Court and would not comport with

judicial economy.          At this late stage of the case, it

would make little sense to dismiss the Superseding

Indictment only to have the government recommence the

action.      Defending against a newly filed indictment

that is substantially the same as or identical to the

Superseding Indictment would not place Defendants in

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any better a position than they would be if this case

proceeds with a continuation of the trial date.

                                CONCLUSION

            In accordance with the foregoing, the Court

HEREBY FINDS AND RECOMMENDS that Defendant Qadri’s

Motion to Dismiss Indictment and Superseding

Indictment, filed June 18, 2009, be DENIED.

            IT IS SO FOUND AND RECOMMENDED.

            Dated:       Honolulu, Hawaii, July 14, 2009.




                                   _____________________________
                                   Kevin S.C. Chang
                                   United States Magistrate Judge




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